                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TENNESSEE
                                          AT KNOXVILLE

  JEFFREY BILYEU, JESSICA BILYEU,               )
  STEPHANIE BRUFFEY, MARK                       )
  COFER, GREGORY SHEETS, and                    )
  WILLIAM WEBB,                                 )
                                                )       Case No. 3:21-cv-352
                      Plaintiffs,               )       Jury Demanded
                                                )
              v.                                )
                                                )
  UT-BATTELLE, LLC,                             )
                                                )
                      Defendant.                )


                     STIPULATION OF DISMISSAL OF PLAINTIFF MARK COFER

                   COME NOW the Parties, by and through the undersigned counsel, pursuant to

     Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and hereby stipulate that Plaintiff Mark

     Cofer (“Plaintiff Cofer”) as a party, any claims that Plaintiff Cofer has alleged against the

     Defendant, and any defenses which Defendant has asserted as to Plaintiff Cofer in this action

     are hereby dismissed without prejudice. This dismissal is without prejudice to the claims of

     the remaining Plaintiffs (Jeffrey Bilyeu, Jessica Bilyeu, Stephanie Bruffey, Gregory Sheets,

     and William Webb) or defenses asserted by the Defendant against the remaining Plaintiffs

     which shall continue unaffected by this stipulation of dismissal.

                   RESPECTFULLY SUBMITTED this the 12th day of May, 2023.


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